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12
                                UNITED STATES DISTRICT COURT
13
                                     DISTRICT OF NEVADA
14

15   Planned Parenthood Mar Monte,                    Case No.: 3:85-cv-00331-ART-CSD

16                 Plaintiff,

17          vs.                                       REPLY IN SUPPORT OF
                                                      PLAINTIFF’S MOTION FOR STAY
18   Aaron Ford, in his capacity as Nevada            OF DISTRICT COURT DECISION
     Attorney General, et al.,
19
                   Defendants
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 1           Planned Parenthood Mar Monte (“PPMM”) has demonstrated that a stay of this Court’s

 2 Fed. R. Civ. P. 60(b) (“Rule 60(b)”) Order is needed to preserve Nevada’s status quo, and the

 3 health, wellbeing, and autonomy of young people throughout the pendency of the Ninth Circuit

 4 appeal. The District Attorneys’ response brief (“Opp’n to Stay”) does not undermine this. Absent

 5 a stay, pregnant young people seeking abortions will experience significant irreparable harms and

 6 impediments to exercising their statutory rights to (1) obtain an abortion, and (2) seek a judicial

 7 bypass order allowing them to obtain an abortion without forced parental involvement, due to the

 8 lack of functional existing judicial bypass process. The District Attorneys do not rebut these central

 9 facts. As to the remaining factors, PPMM has overwhelmingly established that staying the Rule
10 60(b) Order will not substantially injure the District Attorneys and is supported by the public

11 interest, arguments that the District Attorneys do not meaningfully challenge. As is established by

12 the record and case law, a stay of the order is warranted throughout the pendency of its appellate

13 review.

14                                             ARGUMENT
15           For forty years, unmarried and unemancipated young people within Nevada have been

16 allowed and trusted to decide for themselves whether to continue a pregnancy or to seek an

17 abortion. Both decisions were allowed to be made without forced parental involvement, without

18 judicial oversight and approval. Because this Court’s Rule 60(b) Order, taking effect on April 30,

19 2025, will disrupt this status quo, all stay factors weigh sharply in favor of granting PPMM’s

20 Motion to Stay. The parties agree that four factors govern this inquiry. See Nken v. Holder, 556

21 U.S. 418, 434 (2009). The first two factors—whether the applicant (1) has made a strong showing

22 of a “likelihood of success” on the merits and (2) will be irreparably harmed absent a stay—are

23 the most critical, and under the Ninth Circuit’s “sliding scale” approach, “a stronger showing of

24 one element may offset a weaker showing of another.” Alliance for the Wild Rockies v. Cottrell,

25 632 F.3d 1127, 1131 (9th Cir. 2011). But, the District Attorneys’ misapplication of this standard

26 deviates from Ninth Circuit precedent. Nevertheless, the record overwhelmingly supports a finding

27 that all Nken factors tip sharply in favor of granting a stay. The legal issues are not as simple as is

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 1 claimed; but even if they were, the overwhelming weight of the evidence supports a finding that

 2 absent a stay, PPMM, its patients, and providers will suffer irreparable harm. The remaining

 3 factors, too, weigh in support of preserving the status quo and staying the Rule 60(b) Decision

 4 pending appellate review. The District Attorneys’ arguments confirm that PPMM has met its

 5 burden in demonstrating that a stay is warranted.

 6       I.   PPMM Satisfies the First Nken Factor: Likelihood of Success

 7            As to the “likelihood of success factor”, the merits, record, and the District Attorneys’

 8 arguments confirm that PPMM, at minimum, has raised multiple “serious legal questions”, easily

 9 satisfying the first Nken factor in support of a stay of this Court’s Rule 60(b) Order. PPMM has
10 established that there are, at minimum, “serious legal questions” as to the merits of the Rule 60(b)

11 decision. See Las Vegas Sun, Inc. v. Adelson, No. 2:19-CV-01667-ART-VCF, 2024 WL 3047560

12 at *1 (D. Nev. June 18, 2024) (finding that the chances of success are not “unreasonable” even

13 when a party is “unlikely to prevail in its appeal” in light of the novelty of the legal question at

14 issue); Leiva-Perez v. Holder, 640 F.3d 962, 967-68 (9th Cir. 2011); Mohamed v. Uber

15 Technologies, 115 F.Supp.3d 1024, 1028–29 (N.D. Cal. 2015) (articulating various “serious legal

16 questions” standards); see also Mot. to Stay 9–10, ECF No. 137.

17            Synthesizing various lines of binding precedent, this Court determined that, under Rule
18 60(b)(5)’s “inequity” provision, the issue of whether equitable and legal factors can be considered

19 depended on the “changed circumstances” 1 alleged and the nature of the underlying challenged

20 judgment, a test that the Ninth Circuit and the United States Supreme Court has never pronounced.

21 PPMM contends that the resolution of that question is more nuanced and not wholly controlled by

22 the holding in Becerra. See Pls.’ Mot. for Stay, 10–13, ECF No. 137 (“Mot. to Stay”). Separately,

23 PPMM maintains that Rule 60(b)(5)’s “suitably tailored” analysis, at minimum, allows

24 consideration of independent constitutional grounds in evaluating whether a requested

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     1
     Undermining their “clarity” argument, the District Attorneys maintain that a reference to
26 “significantly changed circumstances” in case law differs from changes in law, Opp’n to Stay 6
   n.4, ECF No. 142. This argument defies Rule 60(b)(5) precedent confirming that this term
27 encompasses factual and legal changes. See, e.g., Horne v. Flores, 557 U.S. 433, 448 (2009);
   Flores v. Rosen, 984 F.3d 720, 741 (9th Cir. 2020).
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 1 modification is proper. Id. 12–13. Both, independently, rise to the level of “serious legal

 2 questions.”

 3          The District Attorneys’ claim that case law as to whether Rule 60(b)(5) required granting

 4 their motion is “clear and well-established,” 2 see Resp. in Opp’n to Mot. for Stay (“Opp’n to Stay”)

 5 2, 4, ECF No. 142, overlooks the record in this case, which establishes that the issues underscoring

 6 this inquiry have always been convoluted and complex. Indeed, after oral argument, this Court

 7 ordered supplemental briefing due to the complexity of the issues at hand. See Order on Suppl.

 8 Briefing, ECF No. 126. Furthermore, their current position is contradicted by their previous

 9 admissions. In petitioning the Ninth Circuit for relief from the Order on Suppl. Briefing, ECF No.
10 126, the District Attorneys repeatedly categorized as “an issue of first impression,” the inquiry set

11 forth in the Court’s order, alleging that it “raises new and important problems, or issues of law of

12 first impression”. See Pet. for Writ of Mandamus to the United States District Ct. for the District

13 of Nevada to Vacate Order & Inj. (“Mandamus Pet.”) 3, 14, 21-23, ECF 129-1. 3 And, the District

14 Attorneys do not contest that these arise in an important context: when parties seek to disturb final

15 orders decades after due to changes in the law and the facts. In light of their pre-March 31, 2025

16 admissions, the record in this case, and reasons set forth in the Motion to Stay 9–13, ECF No. 137,

17 this factor weighs in favor of granting a stay.

18    II.   The Harm to Providers, and Patients Weighs Overwhelmingly in Favor of a Stay

19          Through arguments and evidence, PPMM has demonstrated that its providers and patients

20 will be irreparably harmed absent the grant of a stay of the Rule 60(b) Order throughout the

21 pendency of the appeal. PPMM has identified numerous irreparable harms that will be experienced

22
   2
     Inadvertently, the District Attorneys bolster the existence of “serious questions” by raising a
23 corollary issue: whether Rufo’s “constitutional violation” mandate is limited to claims procedurally
   exhausted  prior to final judgment. See Opp’n to Stay 7–8, ECF No. 142. Whether Rufo’s “maintain
24 the injunction”  language is subject to certain procedural limitations must be reconciled with the
   Rules  60(b) and  (c)(2)’s text, and its practical implications. Their Ninth Circuit Petition for Writ
25 of Mandamus concedes       that Rufo’s procedural limits in an issue of first impression. See Mandamus
   Pet. 21–23,  ECF   No. 129-1.
26
   3
     The Ninth Circuit’s denial order did not make any specific findings that would require a
27 determination that this was not an “issue of first impression.” See In re Woodbuty [sic] Order,
   ECF No. 134.
28



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 1 should the order allowing the enforcement of the parental notification and judicial bypass

 2 provisions take effect on April 30, 2025. PPMM has established that (1) no accessible judicial

 3 process tangibly exists that would enable an unmarried or unemancipated young person to obtain

 4 an abortion without forced parental involvement; (2) there is no evidence as to how the two District

 5 Attorneys that filed the Rule 60(b) Motion, the remaining fifteen District Attorneys, or the Nevada

 6 Attorney General will enforce NRS 442.255, NRS 442.2555, NRS 442.257 given this procedural

 7 vacuum and plain language of the statute; and (3) due to the absence of a process for obtaining a

 8 judicial bypass and unclear guidance, PPMM and other abortion providers face a credible threat

 9 of arbitrary and discriminatory investigation, prosecution, and civil penalties. See Mot. to Stay 13–
10 21, ECF No. 137. The District Attorneys present no evidence or argument to the contrary to rebut

11 these harms.

12          Nowhere do the District Attorneys acknowledge the most acute irreparable harms: absent
13 a stay, unmarried and unemancipated young people seeking an abortion in Nevada without forced

14 parental involvement or unable to demonstrate “parental notification” will be unable to obtain a

15 judicial bypass order because no accessible process exists to obtain an order. The consequences

16 are indisputable: these young people will be forced to continue to carry an unwanted pregnancy to

17 term that they wish to terminate, necessarily facing the risks and consequences of pregnancy, labor,

18 childbirth, and for some, forced parenthood. 4 The District Attorneys’ silence at this juncture as to

19 the effects of the Rule 60(b) Order is at odds with their position in other filings acknowledging

20 that, should Rule 60(b) relief be granted, it will result in delaying and in some cases, thwarting

21 access to abortion services. See e.g., Mandamus Pet. 7, 13, 21, ECF No. 129-1 (emphasizing the

22 need to vacate Glick injunction to impede “minor children” from obtaining abortions that they

23 otherwise would have sought). The District Attorneys do not address the factual inexistence of an

24 accessible process and do not refute the irreparable harms that young people will experience if

25 unable to access these processes should the Rule 60(b) Order go into effect.

26
     4
     The harm to PPMM’s patients and young people subject to these laws is relevant to this inquiry.
27 See, e.g., Roman Catholic Diocese of Brooklyn v. Cuomo, 592 U.S. 14, 19 (2020) (per curiam)
   (considering harm to third parties).
28



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 1          To avoid this inevitable conclusion, the District Attorneys advance a strawman argument

 2 that fundamentally mischaracterizes PPMM’s arguments, so that an irreparable harm finding

 3 would have to be contingent upon a finding that these statutes are constitutionally inadequate. See,

 4 e.g., Opp’n to Stay 11–15, ECF No. 142. Confusingly, their “constitutionally adequate” arguments

 5 directly contradict their Rule 60(b) merits arguments: each case they cite flowed from Roe; yet,

 6 their Rule 60(b)(5) motion, at its core, asserted that the legal basis of all Roe-related analysis in

 7 decisions “evaporated” following Dobbs, thus relief was required. Because PPMM did not allege

 8 irreparable harm here on the basis of a constitutional violation, these arguments are legally

 9 irrelevant and do not rebut evidence in the record. And, absent independent credible evidence to
10 the contrary, the District Attorneys can only advance speculations as to the accessibility of these

11 processes: here, they do not represent the Nevada Judiciary, the remaining defendants or

12 governmental stakeholders responsible for implementing these statutes, and cannot speak with any

13 authority or specificity for those that must comply; they speak only as prosecutors. 5 Accordingly,

14 their representations are insufficient to rebut PPMM’s arguments. The effect of a lack of accessible

15 process is irrefutable: the only alternative to abortion will be carrying a pregnancy to term, labor,

16 and childbirth.

17          PPMM’s arguments related to irreparable harms that will be experienced by providers

18 should the Rule 60(b) Order take effect also remain meaningfully unrebutted. While the District

19 Attorneys attempt to obfuscate the issues underlying the factual existence of a credible threat of

20 arbitrary enforcement, they do not dispute that this constitutes irreparable harm. See also Mot. to

21 Stay 19–21, ECF No. 137 (collecting applicable cases recognizing this harm); Isaacson v. Mayes,

22 84 F.4th 1089, 1100–1101 (9th Cir. 2023) (recognizing a credibility of a threat of prosecution,

23 within the context of standing, when at least one prosecutor indicated a desire to enforce an

24 abortion regulation). Rather, the District Attorneys conjure hypothetical ways that a provider might

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     5
26  With respect to the provision that the District Attorneys potentially have legal authority to provide
   assurances as to preparations within their jurisdictions, NRS 442.2555(1), they shirk their
27 responsibilities related to compensation of appointed counsel by mischaracterizing an indisputable
   factual unknown as a legal argument. See Opp’n to Stay 13, ECF No. 142.
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 1 document compliance, Opp’n to Stay 10-11, ECF No. 142, while remaining silent as to whether

 2 their bespoke formula, under Nevada state law, can and will be adopted by any of the state’s law

 3 enforcement apparatus. Critically, the District Attorneys (1) have not pointed to any reliable and

 4 binding sources of law setting forth standards/guidance as to how to implement the parental

 5 notification requirements      and (2) have not disavowed arbitrary enforcement within their

 6 respective jurisdictions through stating on the record themselves as to how they will interpret and

 7 enforce the statutes. Indeed, the District Attorneys’ factual assertions related to the desire to

 8 enforce these provisions, confirms the existence of this threat. Opp’n to Stay 15, 16, 20, ECF No.

 9 142; see Mot. to Stay 19–20, ECF No. 137 (describing threat of enforcement). The District
10 Attorneys remain equally silent as to other credible threats stemming from politicized prosecutions

11 of abortion providers, the possibility of licensure penalties, or other reputational harms. They also

12 cannot disavow arbitrary enforcement in other Nevada jurisdictions that they are not legally

13 authorized to represent. This context is legally significant to this inquiry, whether to grant a stay

14 pending appeal. Simply put, the District Attorneys’ efforts to shrug off arbitrary enforcement

15 threats 6 are unavailing. Accordingly, PPMM has clearly established that its providers will face

16 irreparable harm absent the grant of a stay.

17          Because various forms of irreparable harm established in the record and Motion to Stay

18 remain unrebutted by the District Attorneys’ speculations and silence, PPMM has established that

19 its patients and providers will experience irreparable harm absent the grant of a stay pending the

20 Ninth Circuit’s decision. Accordingly, this factor weighs heavily in favor of PPMM’s motion.

21 III.     The Remaining Nken Factors Continue to Weigh Heavily In Favor of A Stay

22          The two remaining factors, the public interest and significant harms experienced by the

23
     6
    Illustrating the very point they attempt to refute: “certified mail” only provides a mailing receipt
24 confirming that the item was sent while requiring a signature from the addressee. However, a
   sender wishing to obtain proof of signature must also pay for “Return Receipt” which can be
25 provided by mail or electronically. Thus, while the provider may have sent the notice via certified
   mail, the District Attorneys do not disavow enforcement should a provider not have requested
26 “return receipt” via paper. Another term alleged to be self explanatory, “last known address,” can
   be equally ambiguous. See, e.g., 26 C.F.R. § 301.6212-2 (regulation defining “last known
27 address”). The District Attorneys point to no binding Nevada legal interpretations that govern any
   of these terms.
28



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 1 District Attorneys if a stay is granted, continue to weigh heavily in support of PPMM’s Motion.

 2 Compare Mot. to Stay 21–23, ECF No. 137 with Opp’n to Stay 15–18, ECF No. 142. While

 3 generally these factors may merge when the government is a party, this is not always the case,

 4 particularly when there are competing public and governmental interests. See, e.g., Simon v. City

 5 & Cnty. of San Francisco, No. 24-1025, 2025 WL 1174852, at *21 (9th Cir. Apr. 23, 2025)

 6 (recognizing that the public interest can “[cut] both ways”); League of Wilderness Defs./Blue

 7 Mountains Biodiversity Project v. Connaughton, 752 F.3d 755, 766 (9th Cir. 2014) (balancing

 8 competing governmental interests).

 9          The District Attorneys cannot establish that they will experience significant harms if a stay
10 is granted. This legal inquiry considers “whether issuance of the stay will substantially injure the

11 other parties interested in the proceeding.” Golden Gate Rest. Ass’n v. City & Cnty. of San

12 Francisco, 512 F.3d 1112, 1115 (9th Cir. 2008) (emphasis added); Mi Familia Vota v. Fontes, 111

13 F.4th 976, 981 (9th Cir. 2024). The plain language is clear: this factor exclusively examines harm

14 that will be experienced by the other party if a stay is granted, not harm that an adverse party claims

15 is ongoing. See Sweet v. Cardona, 657 F. Supp.3d 1260, 1272 (N.D. Cal. 2023) (rejecting harm

16 that was already ongoing); Tribe v. U.S. Bureau of Reclamation, 319 F. Supp. 3d 1168, 1174 (N.D.

17 Cal. 2018); see also Doe #1 v. Trump, 944 F.3d 1222, 1223 (9th Cir. 2019) (denying temporary

18 stay request when the status quo would not be disrupted by continuing to disallow the executive

19 branch from enforcing policy that had never gone into effect). As they concede, no governmental

20 official (including the District Attorneys) has ever been allowed to enforce the parental notification

21 and judicial bypass provisions. Opp’n to Stay 16–17, 20, ECF No. 142. Hence, irrespective of

22 whether the “harms” they posit are legally cognizable, they are insufficient to find that this factor

23 weighs against the grant of a stay. Furthermore, the District Attorneys do not identify any other

24 meaningful legally relevant harms that they will experience if a stay of the Rule 60(b) Order is

25 granted. See Opp’n to Stay 19, ECF No. 142 7. There is also no per se finding of irreparable harm

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     7
     District Attorneys attempt to rely on Golden Gate to support the argument that allowing S.B. 510
27 to go into effect preserves the status quo. Opp’n to Stay 19, ECF No. 142. Their “judicial
   intervention” analysis clearly fails under Golden Gate because the judicial intervention that PPMM
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 1 when a government actor is unable to exercise the authority incidental to their office. C.f., Doe #1

 2 v. Trump, 957 F.3d 1050, 1059 (9th Cir. 2020) (rejecting argument that government is entitled to

 3 irreparable harm finding simply on the basis that the executive branch was prevented from taking

 4 action to effectuate legislative acts); id. (internal citations omitted) (“the harm of such a perceived

 5 institutional injury is not ‘irreparable,’ because the government ‘may yet pursue and vindicate its

 6 interests in the full course of this litigation.’”).

 7          Addressing their public interest arguments, Opp’n to Stay 15-19, ECF No. 142, any public

 8 interest that exists in allowing them to enforce the parental notification provision enacted by the

 9 legislature equally exists in ensuring that the remainder of the statute is properly implemented.
10 This includes the public interest embedded within the judicial bypass provisions: that young people

11 retain access to abortion via judicial processes set forth in the statute. See also supra Section II

12 (addressing lack of existing mechanisms). The District Attorneys’ arguments are conspicuously

13 silent, and outweighed by the harm to this public interest that will occur if the Rule 60(b) Order

14 takes effect without the existence and accessibility to this process.

15          Likewise, to the extent that there is a public interest in ensuring that legislative acts enacted
16 take effect, the District Attorneys ignore the public interest in effectuating the State of Nevada’s

17 actions, i.e., electoral and legislative actions, after 1985, which remain most contemporaneously

18 relevant to the public interest that exists today. See Second Suppl. Br. of Pl. Planned Parenthood

19 Mar Monte, Inc. (“Pl.’s Second Suppl. Br.”) 24–25, ECF No. 131; Mot. to Stay 22–23, ECF No.

20 137. Further, the District Attorneys’ case citations are all distinguishable: the challenged laws in

21 those cases were either very recently passed, reflecting the current will of the legislature, or a law

22 that had already been enforced for over a century, such that denying a stay would maintain the

23

24 seeks to stay pending appellate review is the Rule 60(b) Order, not the Glick injunction. Nor does
   Golden Gate stand for the proposition that the ‘status quo’ is determined by any judicial
25 intervention in a case. Their reliance on United States v. Texas is equally unavailing: the sentence
   accompanying the footnote from which they excise this quote undermines their position: “[The
26 stay’s] point is to minimize harm while an appellate court deliberates, so the choice to issue an
   administrative stay reflects a first-blush judgment about the relative consequences of staying the
27 lower court judgment versus allowing it to go into effect.” See 144 S. Ct. 797, 798 (2024) (Barrett,
   J., concurring).
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 1 status quo. See, e.g., Priorities USA v. Nessel, 860 F. App’x 419, 422 (6th Cir. 2021) (reversing

 2 district court’s order granting a preliminary injunction barring the enforcement of a law that had

 3 been in effect since 1891); Coal. for Econ. Equity v. Wilson, 122 F.3d 718, 719 (9th Cir. 1997)

 4 (Ninth Circuit considered a stay of ballot initiative which had been enacted a year prior, reflecting

 5 the current will of the people). But even if enforcing a previously enjoined law constitutes a

 6 cognizable public interest, it must be weighed against the public interest in ensuring that this Rule

 7 60(b) appeal is resolved prior to dissolving the final judgment and resuming this litigation. See

 8 Utah Gospel Mission v. Salt Lake City Corp., 316 F. Supp. 2d 1201, 1223 (D. Utah 2004) (citing

 9 Sperry Corp. v. City of Minneapolis, 680 F.2d 1234, 1238 (8th Cir. 1982)) (recognizing a public
10 interest in the “prompt and efficient settlement” of disputes as implicated when the consequences

11 would result in a governmental entity “almost certainly [being] thrust back into further litigation,

12 at taxpayers’ expense”). Accordingly, the record compels the finding that the public interests

13 advanced by the District Attorneys substantially tip in favor of the grant of a stay.

14          Separately, the facts of the case dilute the general public interests alleged by the District
15 Attorneys. Little weight should be given to the District Attorneys’ assertions of general public

16 interests in light of the abject silence of the remainder of the parties statutorily authorized to

17 enforce this law, including other District Attorneys and state-level law enforcement officials. 8

18 Likewise, the public interest arguments related to any urgency in enforcing this law are

19 contradicted by the record: the District Attorneys waited over 32 years after the Glick injunction,

20 26 years after Lambert v. Wicklund, and 17 months after Dobbs to seek any form of Rule 60(b)

21 relief. See also supra at n. 10. While this Court found their motion timely, both this Court and the

22 District Attorneys have acknowledged 9 that Rule 60(b) relief could have been sought sooner,

23 undermining the factual assertions related to an ongoing imminent need to enforce this law. Order

24
   8
      See Tr. of Oral Args. 52, ECF 128 (“THE COURT: But you’re also making perfectly the
25 argument    that Nevada moved on. That they didn’t seek similar relief, that they didn’t do it back
   then,  they  didn’t do it along the way, they didn’t do it politically, they didn’t do it in terms of
26 litigation.”).
   9
     Tr. of Oral Args. 50–52, ECF No. 128 (District Attorneys’ counsel acknowledging other potential
27 opportunities   to seek relief prior to the filing of the instant motion).
28



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 1 on Defs.’ Mot. for Relief from J. 13, ECF No. 135; c.f. Citibank, N.A. v. Citytrust, 756 F.2d 273,

 2 276 (2d Cir. 1985) (“Delay in seeking enforcement of [a party’s rights], however, tends to indicate

 3 at least a reduced need for such drastic, speedy action”).

 4           Lastly, the public interest that allowed this law to survive rational basis review

 5 (encouraging parental involvement in the decision to have an abortion, 10 protecting immature

 6 minors, 11 and promoting family integrity 12), do not compel a finding that the public interest weighs

 7 against the grant of a stay. See Opp’n to Stay 16, ECF No. 142; see, e.g., Cascadia Wildlands v.

 8 Warnack, 570 F. Supp.3d 983, 992 (D. Or. 2021) (determining that an interest that had been

 9 deemed “legitimate” was outweighed by other competing public interests). Likewise, the District
10 Attorneys’ abstract 13 public interests are already advanced and protected via existing alternative

11 methods. See Pl.’s Second Suppl. Br. 23, ECF No. 131. And in some circumstances, enforcement

12 of this order is contrary to these interests. For example, absent exemptions for young people whose

13

14   10
        The District Attorneys do not contest that this interest is already advanced by PPMM, see Dalton
     Decl. in Supp. of Mot. to Stay 5, ECF No. 139-1. Other courts have found that most pregnant
15   minors in healthy families already voluntarily do so. See Am. Acad. of Pediatrics v. Lungren, 940
     P.2d 797, 828–29 (Cal. 1997). Accordingly, this specific public interest does not weigh against
16   granting a stay as the uncontested record demonstrates that this interest will hardly be affected by
     this stay. But even if this public interest weighs against the grant of a stay, it does not substantially
17   outweigh all other public interests that heavily support the grant of a stay.
     11
18      Absent an accessible judicial bypass process, giving weight to this interest is at the expense of
     the public interest in the legislature’s intent to ensure that mature minors retain access to abortion
19   without forced parental involvement.
     12
        Multiple courts have rejected arguments that parental involvement statutes advance this interest.
20   Lungren, 940 P.2d at 828 (determining that law “would in fact injure the asserted interests of the
     health of minors and the parent-child relationship” (internal quotation marks omitted)); see also
21   Wicklund v. State, No. ADV 97-671, 1999 Mont. Dist. LEXIS 1116, at *8–9 (1st Jud. Dist. Feb.
     11, 1999) (citing evidence that many adolescents “who did not tell their parents had experienced
22   domestic violence, feared it would occur, or were fearful of being forced to leave home,” and that
     in cases where parental notification was forced, many reported “serious consequences such as
23   physical violence or being forced from the home”); Planned Parenthood of Cent. N.J. v. Farmer,
     762 A.2d 620, 637 (N.J. 2000) (“Mandated disclosure to a parent ‘may . . . cause serious emotional
24   harm to the minor’ and ‘often precipitates a family crisis, characterized by severe parental anger
     and rejection of the minor.’”).
25
     13
        See Leiva-Perez, 640 F.3d at 970 (“[A]lthough petitioners have the ultimate burden of justifying
26   a [stay], the government is obliged to bring circumstances concerning the public interest to the
     attention of the court. Nken’s admonition that we cannot base stay decisions on assumptions and
27   “blithe assertion[s],” [...], applies with equal force to the government's contentions in opposing
     stay requests.”).
28



                                                        10
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 1 pregnancy is the result of rape or incest, or if the young person is subject to parental abuse,

 2 enforcement of the parental notification requirement absent a functional judicial bypass process

 3 will likely result in actual harm.

 4          Likewise, numerous additional public interests weigh in favor of granting a stay. The

 5 preservation of the status quo pending an appeal is sufficient to find that the public interest weighs

 6 in favor of the grant of a stay. See Doe #1, 957 F.3d at 1068. And, through their admissions and

 7 omissions, see supra Section II (irreparable harm), the District Attorneys implicitly concede

 8 PPMM’s argument that there is a public interest in the continuity of access to health care, which

 9 will be disrupted if the Rule 60(b) Order goes into effect. See also Golden Gate, 512 F.3d at 1125–
10 26 (noting that “[l]ack of timely access to health care poses serious health risks” and that “the

11 general public has an interest in the health of [its] residents”); Stormans, Inc. v. Selecky, 586 F.3d

12 1109, 1139 (9th Cir. 2009) (“[T]he injunction may not be in the public interest if it would likely

13 cause unreasonable delay to a woman’s ability to acquire and use the drug, where such delay may

14 render the drug ineffective in preventing an unwanted pregnancy.”). The District Attorneys also

15 fail to consider the public interest in protecting the health and wellbeing of young people facing

16 unwanted pregnancy, and ignore the real harms these minors experience when they are denied

17 access to safe and legal abortion. Their interests in avoiding a compelled pregnancy and its

18 consequences are far more compelling than a competing public interest in enforcement of the Rule

19 60(b) Order. See Mot. to Stay 15–18, ECF No. 137. Accordingly, the record overwhelmingly

20 demonstrates that the public interest lies in favor of the grant of a stay including the numerous

21 other general public interests stemming from the harms that young people will experience should

22 this law go into effect. As such, these factors, too, weigh heavily in support of granting PPMM’s

23 Motion to Stay.

24   IV.    The District Attorneys’ Administrative Stay Arguments are Unavailing
25          The District Attorneys’ arguments related to the grant of an administrative stay are equally
26 unavailing and suffer from the same errors as their other status quo arguments. Again, the District

27 Attorneys’ attempt to supplant the applicable legal standard, invoking all Nken factors in spite of

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 1 this Circuit having already “definitively resolved which standard applies to administrative stay

 2 motions.” Nat’l Urb. League v. Ross, 977 F.3d 698, 702 (9th Cir. 2020) (citing Doe #1, 944 F.3d

 3 at 1223). “When considering the request for an administrative stay, our touchstone is the need to

 4 preserve the status quo.” Nat’l Urb. League, 977 F.3d at 702; Ward v. Thompson, No. CV-22-

 5 08015-PCT-DJH, 2022 WL 6181882, at *4 (D. Ariz. Oct. 7, 2022) see also Am. Fed'n of Gov't

 6 Emps., AFL-CIO v. U.S. Office of Pers. Mgmt., No. 25-1677, 2025 WL 835337, at *1 (9th Cir.

 7 Mar. 17, 2025) (denying an administrative stay where it would disrupt the status quo). In other

 8 words, an administrative stay “is only intended to preserve the status quo until the substantive

 9 motion for a stay pending appeal can be considered on the merits, and does not constitute in any
10 way a decision as to the merits of the motion for stay pending appeal.” Doe #1, 944 F.3d at 1223.

11 Here, as in Doe #1, the “status quo would be disrupted” by allowing enforcement of a statute that

12 has “not yet gone into effect.” Id. Moreover, their arguments as to “other factors” rely on a

13 misrepresentation of PPMM’s request, which sought a temporary administrative stay as an

14 alternative to granting the Motion to Stay, allowing PPMM to seek the resolution of a forthcoming

15 stay motion from the Ninth Circuit, see Mot. to Stay 23–34, ECF No. 137. See Ninth Circuit Rule

16 27-2; see, e.g., Sridej v. Blinken, No. 2:23-CV-00114-ART-BNW, 2024 WL 307615, at *4 (D.

17 Nev. Jan. 26, 2024) (granting an administrative stay); Sweet, 657 F.Supp.3d at 1279 (same).

18 Accordingly, PPMM’s arguments in support of an administrative stay remain meaningfully

19 uncontested and have been bolstered by the District Attorneys’ admissions that the grant of this

20 request would preserve the legally relevant status quo.

21                                          CONCLUSION
22          As a matter of law and fact, and the unrebutted evidence in the record supporting these

23 arguments, PPMM has demonstrated that the Nken factors weigh in favor of the grant of this

24 Court’s stay of the Rule 60(b) Order throughout the pendency of the appellate review process and

25 merit the exercise of such discretion.

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 1      Dated this 25th day of April, 2025.

 2                          BRAVO SCHRAGER LLP

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 1                                  CERTIFICATE OF SERVICE

 2         I hereby certify that on this 25th day of April, 2025, a true and correct copy of this

 3 REPLY IN SUPPORT OF PLAINTIFF’S MOTION FOR STAY OF DISTRICT COURT

 4 DECISION was served via the United States District Court CM/ECF system on all parties or

 5 persons requiring notice.

 6

 7
                                         By      /s/ Dannielle Fresquez
 8                                             Dannielle Fresquez, an Employee of
                                               BRAVO SCHRAGER LLP
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